                                   UNITED STATES DISTRICT COURT
              Case 1:23-cr-00568-RMB Document 9 Filed 03/21/22 Page 1 of 1 PageID: 18
                                                             for the
                                                      District of New Jersey

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                                                                                           Edward S. Kiel

              UNITED STATES OF AMERICA
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                                                Plaintiff
                                                                                                   March 21, 2022
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                              v.                                        '$7(2)352&((',1*6

                    MANUEL A. QUINONES
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                                               Defendant


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              Defendant consents to proceed via teleconferencing
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